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                                         Taylor Bandemer
                                       53 Lawrence Hill Rd.
                                       Huntington, NY 11743

Hon. Colleen Kollar-Kotelly
United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington, D.C. 20001

I hope this letter finds you in the best of health and spirits. I am writing to provide a character
reference for my fiancé, Jon Lizak, who is currently before the court. I have had the privilege of
knowing Jon Lizak for almost 4 years, and during this time, I have witnessed his unwavering
compassion, strong will, hard work, self discipline, love for family/ friends and of course
dedication to making everyone around him happy.

Jon Lizak and I met in 2020 during COVID, life was very slow and we had a lot of time to talk
to each other. We started dating almost immediately after we met but we had to do long distance
for a year until Jon and I decided that it was best that I move to NY. For the year of long distance
we visited each other a couple of times; I got to be around his amazing family for the first time
and he got to meet my parents who adore him. The first time he came to Colorado to visit me, I
was so taken back by the love he had to offer me. Ever since then he has never stopped or slowed
down in our relationship; he is constantly wowing me every day with his love and
companionship. After moving to NY, Jon and I grew much closer and we were able to mature
together for the next few years. I have gotten to know some of his hardships that he dealt with
growing up and what has led him to who he is now. Jon and I are both products of divorced
families which have affected who we are now. He really lacked a father figure in his life which
caused a lot of the trouble he is in now. When I moved to NY, Jon was still spending much of his
time immersed in public policy and political causes and I saw him gradually drift away from
things he previously considered important. Since Jon lacked a father figure in his life, I believe
he was seeking something or some cause to direct him. Obviously he was led in the wrong
direction, especially with politics and I watched it all first hand. He was driven away from what
was right in his life and sucked a lot of life out of him. Since he has left that path, he has refused
to miss a single Sunday mass, firefighter training, alone time with his brother, a date night with
me, and a day of work. He surely did learn from his mistakes with politics and I know he regrets
a lot of it. It has been a sweet process of watching him step back from that world and become
who he is now. Since he has left, Jon has had a drive like no one I have ever seen before. He
always has something to accomplish whether big or small, and he always ends up accomplishing
it! Jon and I started a little farm in our backyard where we take care of chickens and ducks. He
enjoys giving chicken eggs to family and friends (loves to brag about his chickens too!). He has
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taken full responsibility for keeping our animals happy and it just happens to be one of his many
achievements. The animals are one of his very few hobbies and they definitely do keep him
entertained. He absolutely loves the outdoors and loves the idea of being holistic and healthy. He
wakes up bright and early every morning in order to get to the gym before work so he can live a
healthy and fulfilling lifestyle. He motivates me daily to join his healthy lifestyle with him… and
I am getting there slowly. Jon and I are getting married this November and we will hope to have
a child within the next year. Jon will be an amazing father, as I have already seen him with kids
on a day to day basis and they all love him. Our love for each other is endless and I wouldn’t
want to be with anyone else. He will continue to grow and achieve, and he will surely never stop
and no one will ever stop him.

Throughout the almost 4 years of being with Jon Lizak, I have continually been impressed by
Jon’s exceptional qualities. My relationship with Jon has been a source of profound joy and
fulfillment in my life. He has consistently demonstrated unwavering kindness, love, and support,
making him not only an exceptional partner but also an extraordinary individual. Jon is the
epitome of a caring and compassionate person. He consistently goes above and beyond to make
sure that I am not just taken care of, but also cherished and loved. Jon has an innate ability to
make me feel valued and cherished, and he creates an environment of trust and emotional
support that is unparalleled. His dedication to our relationship is not limited to the good times but
extends to our mutual growth and development. Jon is not just a partner; he is a true teammate in
the journey of life. He encourages and supports my dreams and aspirations, providing me with
the confidence to pursue my goals. Jon has been an unwavering pillar of strength and support,
and I am truly grateful for his presence in my life.

What truly sets Jon apart, however, is his kind and caring nature. He possesses a genuine and
compassionate heart that extends to everyone he meets. Jon is known for his willingness to help
others in times of need, offering support and comfort without hesitation. He consistently
demonstrates empathy and understanding, making him a beloved friend and confidant to many.
Jon has a unique ability to bring out the best in people and create a warm, inclusive, and
nurturing environment for those around him. He has always been the best person to talk to in
times of grief or hardships and I believe everyone else around him can say the same.

Jon Lizak is a person of extraordinary determination and self-motivation. Throughout the time I
have known him, I have witnessed his unwavering commitment to personal growth and
self-improvement. He approaches life with a passion for learning and self-development, always
seeking opportunities to acquire new knowledge, skills, and experiences. He understands that
self-improvement is a lifelong journey and has demonstrated the discipline and dedication
required to excel in various aspects of life. Jon Lizak has set and achieved numerous personal
and professional milestones, a testament to his self-drive and perseverance. Ever since his arrest
he has completely changed as a person, for the better, and is now working twice as much to
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improve himself. Since his arrest he has started working a wonderful job, got engaged, been
more involved with the church, started his own little homestead/farm in our backyard, made
many new amazing friends, became the God Father of a beautiful little girl, has gotten closer to
my family, became a certified firefighter, furthering his education by taking an online class, and
so much more that I can go on and on about.

I kindly request that you take my letter into account when proceeding. I hope I was able to show
you who Jon Lizak is as a person. He is not defined by his mistakes, but is a great man who
wants to do great things.



                                                                             Taylor Bandemer
